Case 2:05-CV-02145-SHI\/|-tmp Document 38 Filed 07/15/05 Page 1 of 4 Page|D 32

IN THE UNITED STATES DISTRICT COURT FlLED BY ____ D.C.
FOR THE WESTERN DISTRICT OF TENNF..S SEE
wEsTERN DIVISION 05 JUL 15 A|‘i'lf)2 58

HELEN RICHARDSON, as Administratrix for the Mi'\$ ii GOULD
Estate of George Richardson, Ir., deceased, and as G-EH(. U.S, UST£_§CT CUBT
Legal Guardian of the Estate of Tavares Richardson, a minor PLAMF*=- M€M
VS. NO. 05-2145- Ma V
MARION DUGDALE, M.D. ET AL DEFENDANTS

 

lt appearing to this Court that counsel for plaintiff, Helen Richardson, as Adrninistratrix

for the Estate of George Richardson, Jr., deceased, and Legai Guardian for the Estate of Tavares
Richardson, a minor, and defendants, Methodist Healthcare Transplant Program, LLC d/b/a UT
Bowld Hospital and Rose M. Sayger, R.N., are in agreement that the time within which plaintiff
must file her responses to defendants’, Methodist Healthcare Transpiant Program, LLC dib/a UT
Bowld Hospital and Rose M. Sayger, R.N., First Set of Interrogatories and Request for
Production of Documents should be extended, up to and including August 12, 2005.

It is, therefore, ORDERED, ADIUDGED and DECREED that the time for plaintiff,
Helen Richardson, to file her responses to defendants’, Methodist Heaitheare Transplant
Program, LLC d/b/a UT Bowid Hospital and Rose M. Sayger, R.N., First Set of Interrogatories
and Request for Production of Documents is hereby extended, up to and including August 12,
2005.

SO ORDERED.

ENTER:

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with ease ss and/orre(a) FRCP on_ i._l~' 3 'Qg

 

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Consented to and approved for entry:

Oa

Joe M. Rog s, One o he Attorneys

 

For Method: st Healthcare Transplant
Program, LLC d/b/a UT Bowld Hospital
and Rose M. Sayger, R.N.

CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing Proposed Consent was served upon the
following attorneys by mailing a copy, as follows:

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postage paid this llth day of July, 2005.

 

 

July 18, 2005 to the parties listed.

Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
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Honorable Samuel Mays
US DISTRICT COURT

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